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                                               IN THE UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION

PETER PILARSKI, individually and                                                                             )                           Case No.: 1:17-cv-08659
on behalf of similarly situated persons,                                                                     )
                                                                                                             )                           Honorable Rebecca R. Pallmeyer
                                                   Plaintiff,                                                )
                                                                                                             )
                                  v.                                                                         )
                                                                                                             )
RENT RECOVER OF BETTER NOI LLC,                                                                              )
                                                                                                             )
                                                   Defendant.                                                )

                                      PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                                    DEFENDANT’S MOTION TO DISMISS COUNTS I AND II

                                                                                         INTRODUCTION

                 Defendant Rent Recover of Better NOI LLC, an Illinois Limited Liability Company, has

filed a motion to dismiss two out of three of Plaintiff’s counts that arise from Defendant’s

attempt to collect a debt in the State of Michigan.1 Count I is brought under the Fair Debt

Collection Practices Act alleging violations of 15 U.S.C. §§ 1692e, e(2)(A), f, f(1), and Count II

alleges violations of Michigan’s mirror collection law, MCL 339.915a. Thus if Plaintiff’s

FDCPA claims stand, so too does his claims under Michigan law. See Soto v. Wells Fargo Bank,

N.A., 2012 U.S. Dist. LEXIS 4195 * 17-18, 2012 WL 113534 (E.D. Mich. Jan. 13, 2012) (citing

Lovelace v. Stephens & Michaels Assocs., 2007 U.S. Dist. LEXIS 83281, 2007 WL 3333019, *2

(E.D. Mich. Nov. 9, 2007) (“When resolving claims under the [Michigan] state statutes that

nearly mirror the FDCPA, the Courts are guided by the rules and decisions arising under the

FDCPA”).



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           Defendant has not moved to dismiss Count III, that alleges that Defendant violated the FDCPA
in attempting to collect a debt that was discharged in Plaintiff’s prior bankruptcy filing.
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          The predominate questions underlying Counts I and II are whether the statements in the

subject collection letter stating an amount of “Interest Due” and that “[y]our account will accrue

interest at a rate of 7.00 percent annum” are false, misstating the amount of money that

Defendant is legally permitted to attempt collect under a residential Landlord-Tenant Lease and

Michigan law.       Because neither the residential Landlord-Tenant Lease or Michigan law provide

the ability for the landlord to seek an interest rate of 7.00 percent annum, an amount which

Defendant claimed was “Due” and sought to collect as part of the “Total Due”, Plaintiff has

stated a cause of action under the Acts. Therefore, Defendant’s motion to dismiss should be

denied.

                                                  FACTS

          The subject collection letter states in part:




          (Complt.¶ 28, Ex. C, PageID #:32).

          The subject collection letter also states:




          (Id. ¶ 29, Ex. C).

          The section of the lease attached to the Complaint, as cited by Defendant its in motion

and the previous paragraph of the lease are as follows:




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         (Complt, Ex. A, PageID #:14).

         The section above, quoted in part by Defendant in its motion, is not in numeric sequence,

as is the format of all of the proceeding paragraphs. This section, section 1, is a standalone

paragraph at the end of the Lease, “1. COSTS” which provides in its entirety:

         COSTS. Lessee agrees to be responsible for any costs of collection allowed by Michigan
         Law should collection and/or summary proceedings be initiated to collect delinquent
         amounts owing under this lease. If Lessee moves out owing any sums to Providence at
         Harbour Club, it is agreed that the maximum amount of interest allowed by Michigan law
         shall be added on from the date of the Lessee’s moving out. Court costs are assessed the
         day the case is filed.

         (Id.).

                                           ARGUMENT

I.       Michigan’s Usury Statute MCL 438.31, only Applies to Bonds, Notes and other
         Written Instruments of Indebtedness Related to Loans, it does not Apply to a
         Landlord-Tenant Residential Lease

         Defendant’s entire argument that under Michigan law that it can collect an interest rate of

7.00 percent annum on top of the principal amount of the debt is premised solely on MCL

438.31. MCL 438.31 is however Michigan’s usury statute applicable to loans. Dmmitt & Ownes

Fin. v. Realtek Indus., 90 Mich App. 439, 436 (Mich. App. 1979) (“The usury statute, MCL

438.31[.]”)       Notably, the usury statute is applicable if the underlying contract “involve[s]

refinancing or the making of loans.” Id.




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         The remedy section of Michigan’s Act 326 of 1966, Interest Rates, MCL 438.32

Violation of act, attorney fees and court costs, recovery, makes it clear that the Act only applies

to “seller[s] or lender[s] or his assigns” as follows:

         Any seller or lender or his assigns who enters into any contract or agreement which does
         not comply with the provisions of this act or charges interest in excess of that allowed by
         this act is barred from the recovery of any interest, any official fees, delinquency or
         collection charge, attorney fees or court costs and the borrower or buyer shall be entitled
         to recover his attorney fees and court costs from the seller, lender or assigns.

         MCL 438.32.

         Plaintiff’s debt does not involve selling, refinancing or the making of loans. Plaintiff’s

debt arises from a Landlord-Tenant residential lease. (Complt. Ex. A). Thus under Michigan

law, the usury interest rates provided in MCL 438.31 are not applicable to a residential Landlord-

Tenant lease. Therefore, Defendant is not permitted under Michigan law to seek interest as

being “Due” at a rate of “7 percent per annum” under the residential Landlord-Tenant lease.

II.      Assuming MCL 438.31 Applies to a Residential Landlord-Tenant Lease, the Plain
         language of the Statute Explicitly Requires A Written Agreement that the Interest
         Rate Is 7%, Otherwise the Maximum Allowed by Law is 5% under MCL 438.31

         Defendant’s motion omits quoting MCL 438.31 in its entirety, which is as follows:

         438.31 Legal interest rate; scope; limitation; construction; foreign obligations.
         Sec. 1.
         The interest of money shall be at the rate of $5.00 upon $100.00 for a year, and at the
         same rate for a greater or less sum, and for a longer or shorter time, except that in all
         cases it shall be lawful for the parties to stipulate in writing for the payment of any rate
         of interest, not exceeding 7% per annum. This act shall not apply to the rate of interest
         on any note, bond or other evidence of indebtedness issued by any corporation,
         association or person, the issue and rate of interest of which have been expressly
         authorized by the public service commission or the securities bureau of the department of
         commerce, or is regulated by any other law of this state, or of the United States, nor shall
         it apply to any time price differential which may be charged upon sales of goods or
         services on credit. This act shall not be construed to repeal section 78 of Act No. 327 of
         the Public Acts of 1931, as amended, being section 450.78 of the Compiled Laws of
         1948. This act shall not render unlawful, the purchase of any note, bond or other evidence
         of indebtedness theretofore issued by any borrower not then domiciled in this state, which
         bear any rate of interest which is lawful under the law of the domicile of the borrower at



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         the date of issue thereof, and in such case any such rate of interest may be charged and
         received by any person, firm, corporation or association in this state.

         MCL 438.31 (emphasis added).

         If MCL 438.31 were to apply to the residential lease, which it does not, the “maximum

amount of interest allowed by Michigan law” is to be assessed “at a rate of $5.00 upon $100.00

for a year”. Id. The plain language of the Act however further provides that for the interest rate

to be above 5% for a year, “the parties [must] stipulate in writing for the payment of any rate of

interest, not exceeding 7% per annum.” Id. Here there is no explicit written stipulation to the

payment of interest in the amount of exactly 7%.           See (Complt, Ex. A).      Therefore, the

“maximum amount of interest allowed by Michigan law” absent a written stipulation explicitly

agreeing to the payment of 7% interest, is the maximum of 5% interest for the year. MCL

438.31. In absence of a specific agreement, Defendant was not permitted under Michigan law to

seek interest at a rate of “7 percent per annum” and claim that amount if interest as being “Due”.

III.     In Michigan, when the Underlying Contract is not a Loan, Interest is not “Due”
         Until There is a Court Determination that there has been Breach of the Contract

         Even if MCL 438.31 is applicable to a residential rental lease, which Plaintiff argues it is

not, prejudgment interest under Michigan law only becomes due after a judicial determination in

made on the plaintiff’s breach of contract claim. See Bernstein v. Shifman, 358 Mich. 699, 700

(Mich. 1960); MCL 600.6013(7), (8). Furthermore, the placement of the “COSTS” provision at

the end of the lease in a non-sequential manner and the context of the section of the sentence

prior and subsequent to the sentence Defendant relies upon only applies to litigation, strongly

indicates that that the “COSTS” as “interest” can only be imposed under the lease if the

subsequent event of litigation against the consumer occurs, if permitted under the law. Notably




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the last sentence of the “COSTS” section states, “Court costs are assessed the day the case is

filed”. (Complt., Ex. A, PageID #:14).

         However prejudgment interest under Michigan law is only permitted from the date of

filing, if and only if the written contract has a “specified interest rate.” MCL 600.6013(7) (“For a

complaint filed on or after July 1, 2002, if a judgment is rendered on a written instrument

evidencing indebtedness with a specified interest rate, interest is calculated from the date of

filing the complaint to the date of satisfaction of the judgment. . . .”). If there is no interest rate

specifically stated in the written contract then the prejudgment interest from the date of filing

based on the variable interest rate set forth in the catchall provision of MCL 600.6013(8) of “1%

plus the average interest rate paid at auctions of 5-year United States treasury notes during the 6

months immediately preceding July 1 and January 1, as certified by the state treasurer”, applies

as discussed in detail below in Section IV. See MCL 600.6013(8).

IV.      Under MCL 600.6013, Michigan’s Prejudgment and Postjudgment Interest Rates
         are Calculated Using the Same Formula, and an Award of Prejudgment Interest is
         Calculated from the Date a Complaint the Results in a Judgment for the Plaintiff is
         Filed

         Michigan’s interest on money judgment statutory rates for a complaint based on a written

contract that does not contain a “specified interest rate” that results in a judgment being entered

is also calculated from the “date of the filing of the complaint”. MCL 600.6013(7), (8). Under

Michigan law interest is calculated for such contracts that do not have a “specified interest rate”

as follows:

         for complaints filed on or after January 1, 1987, interest on a money judgment recovered
         in a civil action is calculated at 6-month intervals from the date of filing the complaint at
         a rate of interest equal to 1% plus the average interest rate paid at auctions of 5-year
         United States treasury notes during the 6 months immediately preceding July 1 and
         January 1, as certified by the state treasurer, and compounded annually, according to this
         section. Interest under this subsection is calculated on the entire amount of the money
         judgment, including attorney fees and other costs.



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         MCL 600.6013(8).

         The State of Michigan makes publically available Michigan’s bi-yearly postjudgment

statutory      interest   rates   going   back     to     January   1,    1987.        Available    at

http://courts.mi.gov/administration/scao/resources/documents/other/interest.pdf.          Michigan’s

post-judgment statutory interests rates for the past six years are as follows:




         Id.

         To apply MCL 438.31’s 5% or 7% interest provisions to the date of a contractual breach

would create a windfall of interest to the plaintiff, incentivize delay in filing suit and it is simply

contrary to Michigan’s law setting for the amount of statutory interest on a money judgment.

         Thus the statements in the subject letter that “Interest Due” without a judgment being

obtained, indeed when no lawsuit was even filed, and “[y]our account will accrue interest at a

rate of 7.00 percent annum” are both false. First as stated above, MCL 438.31 in inapplicable

and second, the amount of “Interest Due” was not due as a matter of Michigan law, third if the

contract is reduced to a judgment after a successful lawsuit, the amount of interest would have

been calculated under MCL 600.6013(8), which at the time the subject letter was sent in January

2017, was 2.426%, not “at a rate of 7.00 percent annum”, and fourth no account in the State of



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Michigan will continue to accrue interest in perpetuity, which the language of the letter implies,

as any claims of interest under a contract will be barred after six years from the date of the

breach. MCL 600.5087(8)2.

V.               Case Law Favor’s Plaintiff’s Position

                 The law is clear that seeking an amount of interest not owed violates 15 U.S.C. § 1692f.

Duffy v. Landberg, 215 F.3d 871, 875 (8th Cir. 2000); c.f. Randolph v. IMBS, Inc., 368 F.3d 726,

730 (7th Cir. 2004) (“Debt collectors may not make false claims, period”); See Long v.

Shorebank Dev. Corp., 182 F.3d 548 (7th Cir. 1999) (seeking an amount of money not owed

violates the FDCPA). Seeking an amount of interest not “Due”, or in an amount that could ever

be “Due” under Michigan law, Defendant violated the plain language of 15 U.S.C. §§ 1692e,

e(2)(A) which provide:

                 A debt collector may not use any false, deceptive, or misleading representation or means
                 in connection with the collection of any debt. Without limiting the general application of
                 the foregoing, the following conduct is a violation of this section:

                 ***

                     (2) The false representation of --

                              (A) the character, amount, or legal status of any debt. . . .

                 15 U.S.C. §§ 1692e, e(2)(A).

                  Plaintiff needs only to establish one violation of the FDCPA to have brought a successful

action under the FDCPA. See Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 321

(7th Cir. 2016).

                 Plaintiff’s claim that the statement in the subject collection letter, “Interest Due” and

including that amount in the “Total Due” is false and misstated the amount of the debt is on all

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           “The period of limitations is 6 years for all other actions to recover damages or sums due for
breach of contract.” MCL 600.5087(8).

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fours with Shula v. Lawent, 359 F.3d 489 (7th Cir. 2004). In Shula, the defendant attorney debt

collector sent the plaintiff a demand letter stating an amount of costs as “‘owed’” even though

the state court proceeding had been abandoned several years earlier. In determining that the

defendant violated the FDCPA, the Court in Shula held that the demand for costs as due and

owing misrepresented the debt as it, “would have required the entry of a judicial order

commanding him to pay the costs.” Id. at 493. The Court then stated that, “If the court had

awarded costs, they would have become a debt owed” by the consumer. Id. at 491 (emphasis in

original).                 The law is clear that non-debt amounts claimed as “due” are not “due” and owing

until a judgment is entered against the consumer in state court. Here, no court entered a

judgment against Plaintiff and in favor of his landlord; in fact Plaintiff’s landlord did not even

file suit against him over the Lease.

                 Defendant, ignoring what Michigan’s interest and judgment Acts actually provide, cites

only two cases in its motion for its position that it was permitted under Michigan law to demand

and clam that 7% interest was “due”. Notably, “815 Park Avenue Owners v. Lapidus, 227 A.D.

353,354 (App. Div. 1996)”, is not a Michigan case, but a case from the Supreme Court of New

York, Appellate Division.3 815 Park Avenue, is a very short opinion that confirmed the trial

court’s entry of a judgment that included a rate of interest, apparently allowed under New York

law. 815 Park Avenue, 227 A.D. at 354.

                 Likewise, Tully v. Sheldon, 159 N.H. 269, 274 (2009), is not a Michigan case, but a case

from the Supreme Court of New Hampshire.4 In Tully the plaintiffs, “appeal the order of the


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           The Bluebook format of citation for 815 Park Avenue should of included (N.Y. App. Div.
1996). The Bluebook, p. 218 (Seventeenth Edition, 2000).
4
 The Bluebook format of citation for Tulley should of included (N.H. 2009). The Bluebook, p.
214 (Seventeenth Edition, 2000).

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Derry District Court . . . as it pertains to the denial of . . . prejudgment interest arising out of an

action against the defendants”.      Tully, 159 N.H. at 275. The Tully court held that, “[t]he

plaintiffs are entitled to the contract interest rate, as the prejudgment interest rate, on the unpaid

rent and late charges. We note, however, that the plaintiffs are not entitled to the contract interest

rate on their other claimed damages.” Tully, 159 N.H. at 275.

          815 Park Avenue and Tully actually undermines Defendant’s position that it is entitled in

a collection letter to claim 7% interest from the breach of the lease as being due, as both cases

involved a lawsuit being filed and a judgment being entered, before the prejudgment interest

allowed under New York and New Hampshire law, respectively, could be added to the principal

amount sought to be collected.

          These two non-Michigan cases, Michigan’s usury statute, MCL 438.31, applicable to

loans, and Plaintiff’s residential lease does not “trump”, (Def. Memo. p. 5, PageID #:65),

unambiguous controlling Michigan statutory authority as cited by Plaintiff above.

                                          CONCLUSION

          WHEREFORE the reasons stated above, Plaintiff has stated a claim upon which relief

can be granted under Count I and Count II. Therefore, Defendant’s motion must be denied.

                                       Respectfully submitted,
                                       /s/ Curtis C. Warner
                                       BY: Curtis C. Warner
                                       For Plaintiff Peter Pilarski

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